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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                          CRIMINAL 10-0114CCC
 vs
 1) MANUEL DE JESUS CEDEÑO-VILORIO
 2) CARLOS MAESTRE-ASTACIO
 3) LUIS EDUARDO PINZON-MAHECHA
 4) JUAN AGUILAR-MORALES
 5) JUAN RAFAEL MOTA-CEDEÑO
 6) DAVID FLORES-ARRIAGA
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on March 22, 2012 (docket
entry 86) on a Rule 11 proceeding of defendant David Flores-Arriaga (6) held before
U.S. Magistrate Judge Bruce J. McGiverin on March 21, 2012, to which no opposition has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 21, 2012. The sentencing hearing is set for June 19,
2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 18, 2012.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
